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                       UNITED STATES DISTRICT COURT
                                 FOR THE
                           DISTRICT OF VERMONT

Joshua Bedard,

      Plaintiff,

      v.                                             Case No. 5:20-cv-161

Centurion Medical Services,

      Defendant.

                           ORDER TO SHOW CAUSE

      A review of the docket in this case reveals the following:

      1.     On October 20, 2020, Plaintiff Joshua Bedard, appearing pro se, filed a
             Complaint against Defendant Centurion Medical Services (Doc. 4).
      2.     On November 12, 2020, a Process Receipt and Return was filed,
             indicating that service of process on Defendant was accomplished on
             November 4, 2020 (Doc. 5).
      3.     Given the date of service of process, Defendant’s responsive pleading
             was due by November 25, 2020.
      4.     No further filings have been received as of the date of this Order

      Plaintiff has not requested the entry of a default or a default judgment in this

case pursuant to Local Rule of Procedure 55 and Federal Rule of Civil Procedure 55.

In accordance with Federal Rule of Civil Procedure 41(b), Plaintiff is hereby

ORDERED to show cause, on or before February 1, 2021, why this case should not

be dismissed for lack of prosecution. SO ORDERED.

      Dated at Burlington, in the District of Vermont, this 11th day of

January 2021.


                                              /s/ John M. Conroy            .
                                              John M. Conroy
                                              United States Magistrate Judge
